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Carmine Marceno                                                               State of Florida
                                                                               County of Lee
         Sheriff

                                         “Proud to Serve”



  August 15, 2021


  DearMrs. Clark,


  The Lee County Sheriffs Office has undergone an evaluation of significant aspects of current
  operations to determine ways to improvepolicies, practices and efficiencies. As you know, the
   Sheriff's Office was forced to absorb additional expenses and obligations as well as other
  increasedcosts including but not limited to; substantial increases in FRS employer pension
  rates, LCSO’s self-funded Health Plan costs and inmate medical expenses.


  Asa result of this evaluation, LCSO is conducting a Reduction in Force. Effective September4,
  2021 yourposition as “Purchasing Director” is being eliminated. You will be placed on
  Administrative Leave with Pay immediately upon this notice and given the opportunity to retire.


  Deadline for this decision will be September 3, 2021 at 4:00pm; or your appointmentwill be
  withdrawn on September4, 2021.


  Human Resourceshas included basic information in this packet but contacting the individuals
  below will be crucial for whatever option you choose. Yourcontact for HR will be Cari Turner,
  she can be reached at 239-477-1360; yourcontact for Health Benefits and FRS is Doreen
  Salvagno, she can be reached at 239-477-1121.


  Thank you for yourservice to The Lee County Sheriffs Office and I wish you well in future
  endeavors.


  Sincerely,               ‘



  Dawn Heikkila
  Director of Human Resources
  Lee County Sheriff's Office




           “The Lee County Sheriff's Office is an Equal Opportunity Employer”

                                                                                       LCSO/Clark
        14750 Six Mile Cypress Parkway ° Fort Myers, Florida 33912-4406 © (239) 477-1000

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